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(j) any Change of Control; or

(k) any Borrower shall grant, or suffer to exist, any Lien on any Collateral
except the Liens in favor of the Administrative Agent and the Secured Parties and other
Permitted Liens; or the Liens granted hereunder shall cease to be valid and perfected (i) first
priority Liens on the First Lien Collateral or (ii) Liens on the Second Lien Collateral subject, as
to priority, only to Liens existing on the Filing Date securing the Senior Claims, in each case in
favor of the Administrative Agent and the Lenders, or there shall be Liens in favor of any
Person, except in each case Permitted Liens; or

(1) any Borrower shall default under, or fail to perform as required under,
or shall otherwise materially breach the terms of any instrument, agreement or contract between
such Borrower entered into or assumed on or after the Filing Date, on the one hand, and the
Administrative Agent, or any of the Administrative Agent’s Affiliates on the other; or

(m) the Bankruptcy Court shall not have entered the Final Order by
September 7, 2007; or

(n) an order with respect to any of the Chapter 11 Cases shall be entered
by the Bankruptcy Court appointing, or any Borrower shall file an application for on order with
respect to any Chapter 11 Case seeking the appointment of, (i) a trustee under Section 1104 of
the Bankruptcy Code, or (ii) an examiner with enlarged powers relating to the operation of the
business (powers beyond those set forth in Section 1106(a)(3) and (4) of the Bankruptcy Code)
under Section 1106(b) of the Bankruptcy Code; or

(0) an order with respect to any of the Chapter 11 Cases shall be entered
by the Bankruptcy Court converting such Chapter 11 Case to a Chapter 7 case; or

(p) (i) the Borrowers file a plan of reorganization in the Chapter 11 Cases
which does not contain a provision for termination of the Commitments and payment in full in
cash of all Obligations of the Borrowers hereunder and under the other Loan Documents on or
before the effective date of such plan or plans or (ii) an order shall be entered by the Bankruptcy
Court confirming a plan of reorganization in any of the Chapter 11 Cases which does not contain
a provision for termination of the Commitments and payment in full in cash of all Obligations of
the Borrowers hereunder and under the other Loan Documents and the release of the
Administrative Agent and the Lenders in full from all claims of the Borrowers and their
respective estates on or before the effective date of such plan or plans upon entry thereof; or

(q) an order shall be entered by the Bankruptcy Court dismissing any of
the Chapter 11 Cases which does not contain a provision for termination of the Commitments,
and payment in full in cash of all Obligations of the Borrowers hereunder and under the other
Loan Documents upon entry thereof; or

(r) an order with respect to any of the Chapter 11 Cases shall be entered
by the Bankruptcy Court or any other court of competent jurisdiction without the express prior
written consent of the Lenders, (i) to revoke, reverse, stay for a period in excess of 10 days,
vacate, rescind, modify, supplement or amend the Orders, this Loan Agreement or any other
Loan Document, in each case in a manner that is adverse the Administrative Agent and the

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Lenders, or (ii) to permit any administrative expense or any claim (now existing or hereafter
arising, of any kind or nature whatsoever) to have administrative priority as to the Borrowers
equal or superior to the priority of the Lenders in respect of the Obligations, except for allowed
administrative expenses having priority over the Obligations to the extent set forth in the
definition of “Carve-Out Amount,” or (iii) to grant or permit the grant of a Lien on the Collateral
other than Permitted Liens; or

(s) an application for any of the orders described in clauses (n), (0), (q),
(r) or (w) shall be made by a Person other than the Borrowers, and such application is not being
diligently contested by the Borrowers in good faith; or

(t) any Chapter 11 Case shall be dismissed (or the Bankruptcy Court shall
make a ruling requiring the dismissal of any Chapter 11 Case), suspended or converted to a case
under chapter 7 of the Bankruptcy Code, or any Borrower shall file any pleading requesting any
such relief; or an application shall be filed by any Borrower for the approval of, or there shall
arise, (i) any other Claim having priority senior to or pari passu with the claims of the Secured
Parties under the Loan Documents and the Orders or any other claim having priority over any or
all administrative expenses of the kind specified in Sections 503(b) or 507(b) of the Bankruptcy
Code (other than the Carve-Out) or (ii) any Lien on the Collateral having a priority senior to or
pari passu with the Liens and security interests granted herein, except as expressly provided
herein;

(u) except as permitted by the Orders or as otherwise agreed to by the
Administrative Agent, the Borrowers shall make any Pre-Petition Payment other than Pre-
Petition Payments authorized by the Bankruptcy Court in accordance with “first day” orders
reasonably satisfactory to the Administrative Agent; or

(v) (i) any Borrower challenges or (ii) any other Person successfully
challenges, in each case the rights of the Administrative Agent or any Lender under this Loan
Agreement or any Loan Document, including, without limitation, the Liens hereunder; or

(w) an order shall be entered by the Bankruptcy Court that is not stayed
pending appeal granting relief from the automatic stay to any creditor of any of the Borrowers
with respect to any claim which in the aggregate could have a Material Adverse Effect; provided,
however, that it shall not be an Event of Default if relief from the automatic stay is granted (i)
solely for the purpose of allowing such creditor to determine the liquidated amount of its claim
against the Borrowers, or (ii) to permit the commencement of and/or prosecution of a proceeding
to collect against an insurance company.

Section 9. Remedies Upon Default. Upon the occurrence of one or more Events
of Default (subject to the expiration of the applicable cure period contained therein), the
Administrative Agent may, and shall at the request of the Required Lenders, immediately declare
the principal amount of the Loans then outstanding to be immediately due and payable, together
with all interest and other amounts payable hereunder (including amounts payable pursuant to
Sections 2.05, and 3.07 hereof) thereon and reasonable fees and out-of-pocket expenses accruing
under this Loan Agreement. Upon such declaration, the balance then outstanding shall become
immediately due and payable, without further order of, or application to, the Bankruptcy Court,

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without presentment, demand, protest or other formalities of any kind, all of which are hereby
expressly waived by each Borrower and the Administrative Agent may exercise any and all of its
other rights and remedies under applicable law (including, but not limited to, the Bankruptcy
Code), hereunder and under the other Loan Documents, including, but not limited to, the transfer
of servicing of the Collateral or the liquidation of the Collateral on a servicing released basis.

‘Section 10. Administrative Agent.

10.01 Appointment. Each Lender (and each subsequent holder of any Loans
by its acceptance thereof), hereby irrevocably appoints and authorizes the Administrative Agent
to perform the duties of the Administrative Agent as set forth in this Loan Agreement including:
(i) to receive on behalf of each Lender any payment of principal of or interest on the Loans
outstanding hereunder and all other amounts accrued hereunder for the account of the Lenders
and paid to the Administrative Agent, and to distribute promptly to each Lender its Pro Rata
Share of all payments so received, (ii) to distribute to each Lender copies of all material notices
and agreements received by the Administrative Agent and not required to be delivered to each
Lender pursuant to the terms of this Loan Agreement, provided that the Administrative Agent
shall not have any liability to the Lenders for the Administrative Agent’s inadvertent failure to
distribute any such notices or agreements to the Lenders and (iii) subject to Section 10.03 of this
Agreement, to take such action as the Administrative Agent deems appropriate on its behalf to
administer the Loans and the Loan Documents and to exercise such other powers delegated to
the Administrative Agent by the terms hereof or the Loan Documents (including, without
limitation, the power to give or to refuse to give notices, waivers, consents, approvals and)
instructions and the power to make or to refuse to make determinations and calculations)
together with such powers as are reasonably incidental thereto to carry out the purposes hereof
and thereof. As to any matters not expressly provided for by this Loan Agreement and the other
Loan Documents (including, without limitation, enforcement or collection of the Notes), the
Administrative Agent shall not be required to exercise any discretion or take any action, but shall
be required to act or to refrain from acting (and shall be fully protected in so acting or refraining
from acting) upon the instructions of the Required Lenders, and such instructions of the Required
Lenders shall be binding upon all Lenders and all subsequent holders of Notes; provided,
however, that the Administrative Agent shall not be required to take any action which, in the
reasonable opinion of the Administrative Agent, exposes the Administrative Agent to liability or
which is contrary to this Loan Agreement or any Loan Document or applicable law.

10.02 Nature of Duties. The Administrative Agent shall have no duties or
responsibilities except those expressly set forth in this Loan Agreement or in the Loan
Documents. The duties of the Administrative Agent shall be mechanical and administrative in
nature. The Administrative Agent shall not have by reason of this Loan Agreement or any Loan
Document a fiduciary relationship in respect of any Lender. Nothing in this Loan Agreement or
any of the Loan Documents, express or implied, is intended to or shall be construed to impose
upon the Administrative Agent any obligations in respect of this Loan Agreement or any of the
Loan Documents except as expressly set forth herein or therein. Each Lender shall make its own
independent investigation of the financial condition and affairs of the Borrowers in connection
with the making and the continuance of the Loans hereunder and shall make its own appraisal of
the creditworthiness of the Borrowers and the value of the Collateral, and the Administrative
Agent shall not have any duty or responsibility, either initially or on a continuing basis, to

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provide any Lender with any credit or other information with respect thereto, whether coming
into its possession before the initial Loans hereunder or at any time or times thereafter, provided
that, upon the reasonable request of a Lender, the Administrative Agent shall provide to such
Lender any documents or reports delivered to the Administrative Agent by the Borrowers
pursuant to the terms of this Loan Agreement or any Loan Document. The Administrative Agent
shall seek any consent or approval of the Required Lenders to the taking or refraining from
taking any action hereunder by sending notice thereof to each Lender. The Administrative Agent
shall promptly notify each Lender any time that the Required Lenders have instructed the
Administrative Agent to act or refrain from acting pursuant hereto.

10.03 Rights, Exculpation, Etc. The Administrative Agent and its directors,
officers, agents or employees shall not be liable to the Secured Parties or their participants or
assignees for any action taken or omitted to be taken by it under or in connection with this Loan
Agreement or the other Loan Documents, Without limiting the generality of the foregoing, the
Administrative Agent (i) may treat the payee of any Note as the holder thereof until the
Administrative Agent receives written notice of the assignment or transfer thereof, pursuant to
Section 11.15 hereof, signed by such payee and in form satisfactory to the Administrative Agent;
(ii) may consult with legal counsel (including, without limitation, counsel to the Administrative
Agent or counsel to the Borrowers), independent public accountants, and other experts selected
by it and shall not be liable for any action taken or omitted to be taken in good faith by it in
accordance with the advice of such counsel or experts; (ii) make no warranty or representation to
any Secured Party and shall not be responsible to any Secured Party for any statements,
certificates, warranties or representations made in or in connection with this Loan Agreement or
the other Loan Documents; (iv) shall not have any duty to ascertain or to inquire as to the
performance or observance of any of the terms, covenants or conditions of this Loan Agreement
or the other Loan Documents on the part of any Person, the existence or possible existence of
any Default or Event of Default, or to inspect the Collateral or other Property (including, without
limitation, the books and records) of any Person; (v) shall not be responsible to any Secured
Party for the due execution, legality, validity, enforceability, genuineness, sufficiency or value of
this Loan Agreement or the other Loan Documents or any other instrument or document
furnished pursuant hereto or thereto; and (vi) shall not be deemed to have made any
representation or warranty regarding the existence, value or collectability of the Collateral, the
existence, priority or perfection of the Administrative Agent’s Lien thereon, or any certificate
prepared by any Borrower in connection therewith, nor shall the Administrative Agent be
responsible or liable to the Secured Parties for any failure to monitor or maintain any portion of
the Collateral. The Administrative Agent shall not be liable for any apportionment or
distribution of payments made in good faith pursuant to Section 3.03, and if any such
apportionment or distribution is subsequently determined to have been made in error the solo
recourse of any Secured Party to whom payment was due but not made, shall be to recover from
other Secured Parties any payment in excess of the amount which they are determined to be
entitled. The Administrative Agent may at any time request instructions from the Lenders with
respect to any actions or approvals which by the terms of this Loan Agreement or of any of the
Loan Documents the Administrative Agent is permitted or required to take or to grant, and if
such instructions are promptly requested, the Administrative Agent shall be absolutely entitled to
refrain from taking any action or to withhold any approval under any of the Loan Documents
until it shall have received such instructions from the Required Lenders. Without limiting the
foregoing, no Secured Party shall have any right of action whatsoever against the Administrative

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Agent as a result of the Administrative Agent acting or refraining from acting under this
Agreement, the Notes or any of the other Loan Documents in accordance with the instructions of
the Required Lenders.

10.04 Reliance. The Administrative Agent shall be entitled to rely upon any
written notices, statements, certificates, orders or other documents or any telephone message
believed by it in good faith to be genuine and correct and to have been signed, sent or made by
the proper Person, and with respect to all matters pertaining to this Loan Agreement or any of the
Loan Documents and its duties hereunder or thereunder, upon advice of counsel selected by it.

10.05 Indemnification. To the extent that the Administrative Agent is not
reimbursed and indemnified by any Borrower, the Lenders will reimburse and indemnify the
Administrative Agent from and against any and all liabilities, obligations, losses, damages,
penalties, actions, judgments, suits, costs, expenses, advances or disbursements of any kind or
nature whatsoever which may be imposed on, incurred by, or asserted against the Administrative
_ Agent in any way relating to or arising out of this Loan Agreement or any of the Loan
Documents or any action taken or omitted by the Administrative Agent under this Loan
Agreement or any of the Loan Documents, in proportion to each Lender’s Pro Rata Share,
including, without limitation, all advances and disbursements made pursuant to Section 10.08;
provided, however, that no Lender shall be liable for any portion of such liabilities, obligations,
losses, damages, penalties, actions, judgments, suits, costs, expenses, advances or disbursements
for which there has been a final judicial determination that such resulted from the Administrative
Agent’s gross negligence or willful misconduct The obligations of the Lenders under this
Section 10.05 shall survive the payment in full of the Loans and the termination of this Loan
Agreement.

10.06 Agent Individually. With respect to its Pro Rata Share of the Total
Commitment hereunder, the Loans made by it and the Notes issued to or held by it, the
Administrative Agent shall have and may exercise the same rights and powers hereunder and is
subject to the same obligations and liabilities as and to the extent set forth herein for any other
Lender or holder of a Note. The terms “Lenders” or “Required Lenders” or any similar terms
shall, unless the context clearly otherwise indicates, include the Administrative Agent in its
individual capacity as a Lender or one of the Required Lenders. The term “Administrative
Agent” means the Administrative Agent solely in its individual capacity as an administrative
agent hereunder and under each other Loan Document. The Administrative Agent and its
Affiliates may accept deposits from, lend money to, and generally engage in any kind of
banking, trust or other business with the Borrowers as if it were not acting as an Administrative
Agent pursuant hereto without any duty to account to the Lenders.

10.07 Successor Agent.

(a) The Administrative Agent may resign from the performance of all its
functions and duties hereunder and under the other Loan Documents at any time by giving at
least thirty (30) Business Days’ prior written notice to the Administrative Borrower and each
Lender. Such resignation shall take effect upon the acceptance by a successor Administrative
Agent of appointment pursuant to clauses (b) and (c) below or as otherwise provided below.

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(b) Upon any such notice of resignation, the Required Lenders shall be
entitled to appoint a successor Administrative Agent who, in the absence of a continuing Event
of Default, shall be reasonably satisfactory to the Administrative Borrower. Upon the
acceptance of any appointment as Administrative Agent hereunder by a successor Administrative
Agent, such successor Administrative Agent shall thereupon succeed to and become vested with
all the rights, powers, privileges and duties of the retiring Administrative Agent, and the retiring
Administrative Agent shall be discharged from its duties and obligations under this Loan
Agreement and the other Loan Documents. After the Administrative Agent’s resignation
hereunder as the Administrative Agent, the provisions of this Section 10 shall inure to its benefit
as to any actions taken or omitted to be taken by it while it was the Administrative Agent under
this Loan Agreement and the other Loan Documents.

(c) If a successor Administrative Agent shall not have been so appointed
within said thirty (30) Business Day period, the retiring Administrative Agent shall then appoint
a successor Administrative Agent who, if an Event of Default is not continuing, shall be
reasonably satisfactory to the Administrative Borrower, who shall serve as the Administrative
Agent until such time, if any, as the Required Lenders appoint a successor Administrative Agent
as provided above.

10.08 Collateral Matters.

(a) The Secured Parties hereby irrevocably authorize the Administrative
Agent, at its option and in its discretion, to release any Lien granted to or held by the
Administrative Agent upon any Collateral upon termination of the Total Commitment and
payment and satisfaction of all Loans and all other Obligations which have matured and which
the Administrative Agent has been notified in writing are then due and payable; or constituting
Property being sold or disposed of pursuant to a Permitted Disposition or in the ordinary course
of any Borrower’s business and in compliance with the terms of this Loan Agreement and the
other Loan Documents; or constituting Property in which the Borrowers owned no interest at the
time the Lien was granted or at any time thereafter; or if approved, authorized or ratified in
writing by the Required Lenders subject to Section 11.01.

(b) Without in any manner limiting the Administrative Agent’s authority
to act without any specific or further authorization or consent by the Secured Parties (as set forth
in Section 10.08(a)), each Secured Party agrees to confirm in writing, upon request by the
Administrative Agent, the authority to release Collateral conferred upon the Administrative
Agent under Section 10.08(a). Upon receipt by the Administrative Agent of confirmation from
the Lenders of its authority to release any particular item or types of Collateral (or, at the option
of the Administrative Agent in the absence of such receipt, in reliance on Section 10.08(a), and
upon prior written request by any Borrower, the Administrative Agent shall (and is hereby
irrevocably authorized by the Lenders to) execute such documents as may be necessary to
evidence the release of the Liens granted to the Administrative Agent for the benefit of the
Secured Parties upon such Collateral; provided, however, that (i) the Administrative Agent shall
not be required to execute any such document on terms which, in the Administrative Agent’s
opinion, would expose the Administrative Agent to liability or create any obligations or entail
any consequence other than the release of such Liens without recourse or warranty, and (11) such
release shall not in any manner discharge, affect or impair the Obligations or any Lien upon (or

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obligations of any Borrower in respect of) all interests in the Collateral retained by any
Borrower.

(c) The Administrative Agent shall have no obligation whatsoever to any
Secured Party to assure that the Collateral exists or is owned by the Borrowers or is cared for,
protected or insured or has been encumbered or that the Lien granted to the Administrative
Agent pursuant to this Agreement has been properly or sufficiently or lawfully created,
perfected, protected or enforced or is entitled to any particular priority, or to exercise at all or in
any particular manner or under any duty of care, disclosure or fidelity, or to continue exercising,
any of the rights, authorities and powers granted or available to the Administrative Agent in this
Section 10.08 or in any of the Loan Documents, it being understood and agreed that in respect of
the Collateral, or any act, omission or event related thereto, the Administrative Agent may act in
any manner it may deem appropriate, in its sole discretion, given the Administrative Agent’s
own interest in the Collateral as one of the Secured Parties and that the Administrative Agent
shall have no duty or liability whatsoever to any other Secured Party.

(d) The Administrative Agent acknowledges that, to the extent that the
Collateral includes items (such as stock certificates, Residuals, instruments and chattel paper)
which are held in the possession of the Administrative Agent, or a third party on its behalf,
pursuant to the Loan Documents, the Administrative Agent is also holding such items in its
possession as agent and bailee of the Secured Parties for the benefit of, and for purposes of
perfecting the security interest of, the Secured Parties in such items.

Section 11. Miscellaneous.

11.01 Amendments, Etc. No amendment or waiver of any provision of this
Agreement or any Note, and no consent to any departure by the Borrowers therefrom, shall in
any event be effective unless the same shall be in writing and signed by the Required Lenders,
and, in the case of an amendment, the Borrowers, and then such waiver or consent shall be
effective only in the specific instance and for the specific purpose for which given, provided,
however, that no amendment, waiver or consent shall (1) increase the Commitment of any
Lender, reduce the principal of, or interest on, the Loans payable to any lender, reduce the
amount of any fee payable for the account of any Lender, or postpone or extend any date fixed
for any payment of principal of, or interest or fees on, the Loans payable to any Lender, in each
case without the written consent of any Lender affected thereby, (11) increase the Total
Commitment, except as contemplated in the definition of “Maximum Credit,” (iii) change the
percentage of the Total Commitment or of the aggregate unpaid principal amount of the Notes
that is required for the Lenders or any of them to take any action hereunder, (iv) amend the
definition of “Required Lenders” or “Pro Rata Share,” (v) release all or a substantial portion of
the Collateral (except as otherwise provided in this Loan Agreement and the other Loan
Documents), subordinate any Lien granted in favor of the Administrative Agent for the benefit of
the Secured Parties, or release any Borrower, (vi) modify, waive, release or subordinate the super
priority claim status of the Obligations (except as permitted in this Loan Agreement and the
Loan Documents), (vii) amend, modify or waive this Section 11.01 of this Loan Agreement, in
the case of clauses (ii) through (vii), without the written consent of each Lender, and (viii)
amend, modify or waive this Loan Agreement in such a manner that by its terms
disproportionately (in comparison with the other Lenders) affects the rights or duties under this

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Loan Agreement of any Lenders, without the written consent of such affected Lenders.
Notwithstanding the foregoing, no amendment, waiver or consent shall affect the rights or duties
of either Administrative Agent (but not in its capacity as a Lender) under this Loan Agreement or
the other Loan Documents, unless in writing and signed by the Administrative Agent. The
parties to this Loan Agreement acknowledge that all material amendments to this Loan
Agreement will require the consent of the Bankruptcy Court.

11.02 Waiver. No failure on the part of the Administrative Agent or any
Lender to exercise and no delay in exercising, and no course of dealing with respect to, any right,
power or privilege under any Loan Document shall operate as a waiver thereof, nor shall any
single or partial exercise of any right, power or privilege under any Loan Document preclude any
other or further exercise thereof or the exercise of any other right, power or privilege. The
remedies provided herein are cumulative and not exclusive of any remedies provided by law.

11.03 Notices.

(a) Except as otherwise expressly permitted by this Loan Agreement or
expressly provided otherwise in the applicable Loan Document, all notices, requests and other
communications provided for herein and under the other Loan Documents (including, without
limitation, any modifications of, or waivers, requests or consents under, this Loan Agreement)
shall be given or made in writing (including, without limitation, by telex or telecopy) delivered
to the intended recipient at the “Address for Notices” specified below its name on the signature
pages hereof); or, as to any party, at such other address as shall be designated by such party in a
written notice to each other party. Except as otherwise provided in this Loan Agreement and
except for notices given under Section 2 (which shall be effective only on receipt), all such
communications shall be deemed to have been duly given when transmitted by telex or telecopier
or personally delivered or, in the case of a mailed notice, upon receipt, in each case given or
addressed as aforesaid.

(b) Nothing in this Loan Agreement or in any other Loan Document shall
be construed to limit or affect the obligation of the Borrowers or any other Person to serve upon
the Lenders in the manner prescribed by the Bankruptcy Code of the Federal Rules of
Bankruptcy Procedure any pleading or notice required to be given to the Lenders pursuant to the
Bankruptcy Code or the Federal Rules of Bankruptcy Procedure.

11.04 Indemnification and Expenses.

(a) Each Borrower shall hold the Administrative Agent, each Lender-
Related Party and each Participant (the Administrative Agent, each Lender-Related Party and
each Participant, an “Indemnified Party”) harmless from and indemnify any Indemnified Party,
on an after-Tax basis, against all liabilities, losses, damages, judgments, costs and expenses of
any kind which may be imposed on, incurred by or asserted against such Indemnified Party
(collectively, the “Indemnified Liabilities”) relating to or arising out of this Loan Agreement, the
Note, any other Loan Document or any transaction contemplated hereby or thereby, or any
amendment, supplement or modification of, or any waiver or consent under or in respect of, this
Loan Agreement, the Note, any other Loan Document or any transaction contemplated hereby or
thereby. Without limiting the generality of the foregoing, each Borrower agrees to hold any

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Indemnified Party harmless from and indemnify such Indemnified Party against all Indemnified
Liabilities with respect to all mortgage loans relating to or arising out of any violation or alleged
violation of any environmental law, rule or regulation or any consumer credit laws, including
without limitation laws with respect to unfair or deceptive lending practices and predatory
lending practices, the Truth in Lending Act or the Real Estate Settlement Procedures Act. In any
suit, proceeding or action brought by an Indemnified Party in connection with any mortgage loan
for any sum owing thereunder, or to enforce any provisions of any mortgage loan, each Borrower
will save, indemnify and hold such Indemnified Party harmless from and against all expense,
loss or damage suffered by reason of any defense, set-off, counterclaim, recoupment or reduction
or liability whatsoever of the account debtor or obligor thereunder, arising out of a breach by any
Borrower of any obligation thereunder or arising out of any other agreement, indebtedness or
liability at any time owing to or in favor of such account debtor or obligor or its successors from
any Borrower. Each Borrower also agrees to reimburse on Indemnified Party as and when billed
by such Indemnified Party for all such Indemnified Party’s costs and expenses incurred in
connection with the enforcement or the preservation of such Indemnified Party’s rights under
this Loan Agreement any other Loan Document or any transaction contemplated hereby or
thereby, including without limitation the reasonable fees and disbursements of its counsel. Each
Borrower hereby acknowledges that, notwithstanding the fact that the Loans are secured by the
Collateral, the obligation of each Borrower with respect to each Loan is a recourse obligation of
each Borrower. The foregoing to the contrary notwithstanding, the Borrowers shall have no
obligation to any Indemnified Party under this Section 11.04 with respect to any Indemnified
Liability that a court of competent jurisdiction finally determines to have resulted from the bad
faith, gross negligence or willful misconduct of such Indemnified Party. In no event, however,
shall any Indemnified Party be liable on any theory of liability for any special, indirect,
consequential, or punitive damages.

(b) Each Borrower shall pay as and when billed by the Administrative
Agent and the Lenders all of the Lender Expenses through the Closing Date, including all
reasonable out-of-pocket costs and expenses (including reasonable fees, disbursements and
expenses of counsel) incurred by the Administrative Agent, the Lenders and their Affiliates in
connection with the development, due diligence review, preparation and execution of (A) this
Loan Agreement and any other Loan Document; and (B) from and after the Closing Date, any
Loan Document, amendment, restatement, supplement, or modification of this Loan Agreement
or any other Loan Document. Each Borrower shall pay as and when billed by the Administrative
Agent or any Lender all Lender Expenses from and after the Closing Date including all of the
out-of-pocket costs and expenses incurred by the Administrative Agent, the Lenders and any of
their respective Affiliates in connection with the consummation and administration of the
transactions contemplated hereby and thereby or with respect to the Collateral, including,
without limitation, (i) all the reasonable fees, disbursements and expenses of counsel, (11) search
fees and filing and recording fees, (iii) all reasonable due diligence, inspection, testing and
review costs and expenses, and (iv) those costs and expenses incurred pursuant to Sections
11.04(a), 11.04(e) and 11.16 hereof. Without limiting the foregoing, the Borrowers shall be
required to pay the actual charges paid or incurred by the Administrative Agent, any Lender or
any of their respective Affiliates for the services of any third-party hired by the Administrative
Agent, any Lender or any of their respective Affiliates for performing financial audits, appraising
the Collateral, or assessing compliance by any Borrower or any Affiliate or Subsidiary of any
Borrower with the terms, conditions, representations and other provisions of any of the Loan

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Documents, including, without limitation, third-party underwriting and residual interest valuation
firms. So long as the aggregate amount of thereof are at any time due and payable do not exceed
the amount on deposit in the Lender Expenses Escrow Subaccount the Administrative Agent
shall pay on the Borrowers’ behalf all of the foregoing fees, charges and other Lender Expenses
that are then due and payable with amounts on deposit in the Lender Expenses Escrow
Subaccount.

(c) Without limiting Section 11.04(b), the Lenders shall be authorized to
engage a specialty finance consulting firm reasonably acceptable to the Borrowers to assist in
reviewing and monitoring this Facility, the Borrowers’ operations and business plan and such
other matters as the Lenders shall reasonably require. The budget for such services will be
reviewed with and subject to the reasonable approval of the Borrowers, and the cost of such
engagement will be reimbursed by the Borrowers.

(d) The Borrowers shall pay to the Administrative Agent all audit,
appraisal, and valuation fees and charges for each financial audit of any Borrower or the
Collateral, expenses incurred by any Lender-Related Party for the establishment of electronic
collateral reporting systems, to appraise the Collateral, or any portion thereof, or to monitor or
assess the performance of any Borrower under any of the Loan Documents.

(e) Each Borrower acknowledges that the Administrative Agent and each
Lender has the right to perform continuing due diligence reviews with respect to any or all of the
Collateral or the Borrowers, as desired by the Administrative Agent or such Lender from time to
time, for purposes of verifying compliance with the representations, warranties and
specifications made hereunder, or otherwise, and each Borrower agrees that the Administrative
Agent or such Lender or its authorized representatives will be permitted during normal business
hours on any business day to examine, inspect, make copies of, and make extracts of, and any
and all documents, records, agreements, instruments or information relating to the Collateral in
the possession, or under the control, of the Borrowers or any custodian. Each Borrower also
shall make available to the Administrative Agent and the Lenders a knowledgeable financial or
accounting officer for the purpose of answering questions respecting the Collateral. The
Borrowers, the Administrative Agent and the Lenders further agree that all reasonable out-of-
pocket costs and expenses incurred by the Administrative Agent and the Lenders in connection
with the Administrative Agent’s or any Lender’s due diligence review of Collateral pursuant to
this Section 11.04(f) shall be paid by the Borrowers.

11.05 Amendments. Except as otherwise expressly provided in this Loan
Agreement, any provision of this Loan Agreement may be modified or supplemented only by an
instrument in writing signed by the Borrowers, the Administrative Agent and the Lenders
required pursuant to Section 11.01 and any provision of this Loan Agreement may be waived by
the Lenders required pursuant to Section 11.01.

11.06 Successors and Assigns. This Loan Agreement shall be binding upon
and inure to the benefit of the parties hereto and their respective successors and permitted
assigns.

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11.07 Survival. The obligations of the Borrowers under Sections 3.06 and
11.04 hereof shall survive the payment of the Obligations and the termination of this Loan
Agreement. In addition, each representation and warranty made, or deemed to be made by a
request for a borrowing, herein or pursuant hereto shall survive the making of such
representation and warranty, and the Administrative Agent and the Lenders shall not be deemed
to have waived, by reason of making any Loan, any Default that may arise by reason of such
representation or warranty proving to have been false or misleading, notwithstanding that the
Administrative Agent and the Lenders may have had notice or knowledge or reason to believe
that such representation or warranty was false or misleading at the time such Loan was made.

11.08 Captions. The table of contents and captions and section headings
appearing herein are included solely for convenience of reference and are not intended to affect
the interpretation of any provision of this Loan Agreement.

11.09 Counterparts: Telefacsimile Execution, This Loan Agreement may be
executed in any number of counterparts, all of which taken together shall constitute one and the
same instrument, and any of the parties hereto may execute this Loan Agreement by signing any
such counterpart. Delivery of an executed counterpart of this Loan Agreement by telefacsimile
shall be equally as effective as delivery of an original executed counterpart of this Loan
Agreement. Any party delivering an executed counterpart of this Loan Agreement by
telefacsimile also shall deliver an original executed counterpart of this Loan Agreement but the
failure to deliver an original executed counterpart shall not affect the validity, enforceability, and
binding effect of this Loan Agreement. This Section shall apply to each other Loan Document
mutatis mutandis.

11.10 LOAN AGREEMENT CONSTITUTES SECURITY AGREEMENT:
GOVERNING LAW. THIS LOAN AGREEMENT SHALL BE GOVERNED BY NEW YORK
LAW WITHOUT REFERENCE TO CHOICE OF LAW DOCTRINE (BUT WITH
REFERENCE TO SECTION 5-1401 OF THE NEW YORK GENERAL OBLIGATIONS LAW,
WHICH BY ITS TERMS APPLIES TO THIS LOAN AGREEMENT), EXCEPT AS
GOVERNED BY THE BANKRUPTCY CODE, AND SHALL CONSTITUTE A SECURITY
AGREEMENT WITHIN THE MEANING OF THE UNIFORM COMMERCIAL CODE.

11.11 CERTAIN, WAIVERS: WAIVER OF JURY TRIAL.

(a) EACH BORROWER HEREBY IRREVOCABLY AND
UNCONDITIONALLY WAIVES, TO THE EXTENT PERMITTED BY APPLICABLE LAW,
ANY RIGHT TO OR IN THE NATURE OF SET-OFF, ABATEMENT, SUSPENSION,
RECOUPMENT OR OTHER RIGHT TO WITHHOLD ANY PAYMENT OR
PERFORMANCE DUE BY SUCH BORROWER OR ON ITS BEHALF, TO OR FOR THE
BENEFIT OF THE ADMINISTRATIVE AGENT OR ANY LENDER OR RELATED TO THE
COLLATERAL.

(b) WAIVER OF JURY TRIAL. EACH OF THE BORROWERS, THE
AGENTS AND THE LENDERS HEREBY IRREVOCABLY WAIVES, TO THE FULLEST
EXTENT PERMITTED BY APPLICABLE LAW, ANY AND ALL RIGHT TO TRIAL BY
JURY IN ANY LEGAL PROCEEDING ARISING OUT OF OR RELATING TO THIS LOAN

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AGREEMENT, ANY OTHER LOAN DOCUMENT OR THE TRANSACTIONS
CONTEMPLATED HEREBY OR THEREBY.

11.12 Acknowledgments. Each Borrower hereby acknowledges that:

(a) it has been advised by counsel in the negotiation, execution and
delivery of this Loan Agreement and the other Loan Documents;

(b) each of the Administrative Agent and the Lenders has no fiduciary
relationship to the Borrowers, and the relationship between the Borrowers and the
Administrative Agent and the Lenders is solely that of debtor and creditor; and

(c) no joint venture exists among or between the Administrative Agent,
the Lenders and the Borrowers.

11.13 No Party Deemed Drafter. Each of the parties hereto agrees that no
party hereto shall be deemed to be the drafter of this Loan Agreement.

11.14 Parent_as Agent for Borrowers. Each Borrower hereby irrevocably
appoints the Parent as the borrowing agent and attorney-in-fact for the Borrowers (the
“Administrative Borrower”) which appointment shall remain in full force and effect unless and
until the Administrative Agent shall have received prior written notice signed by all of the
Borrowers that such appointment has been revoked and that another Borrower has been
appointed Administrative Borrower. Each Borrower hereby irrevocably appoints and authorizes
the Administrative Borrower (i) to provide the Administrative Agent with all notices with respect
to Loans obtained for the benefit of any Borrower and all other notices and instructions under
this Agreement and (ii) to take such action as the Administrative Borrower deems appropriate or
its behalf to obtain Loans and to exercise such other powers as are reasonably incidental thereto
to carry out the purposes of this Agreement. It is understood that the handling of the Loan
Account and Collateral of the Borrowers in a combined fashion, as more fully set forth herein, is
done solely as an accommodation to the Borrowers in order to utilize the collective borrowing
powers of the Borrowers in the most efficient and economical manner and at their request, and
that neither the Administrative Agent nor the Lenders shall incur liability to the Borrowers as a
result hereof. Each of the Borrowers expects to derive benefit, directly or indirectly, from the
handling of the Loan Account and the Collateral in a combined fashion since the successful
operation of each Borrower is dependent on the continued successful performance of the
integrated group. To induce the Administrative Agent and the Lenders to do so, and in
consideration thereof, each of the Borrowers hereby jointly and severally agrees to indemnify the
Indemnified Parties and hold the Indemnified Parties harmless against any and all liability,
expense, loss or claim of damage or injury, made against such Indemnified Party by any of the
Borrowers or by any third party whosoever, arising from or incurred by reason of (a) the
handling of the Loan Account and the Collateral of the Borrowers as herein provided, (b) the
Administrative Agent’s and the lenders’ reliance on any instructions of the Administrative
Borrower, or (c) any other action taken by the Administrative Agent or any Lender hereunder or
under the other Loan Documents; provided, however, that the Borrowers shall not have any
obligation to any Indemnified Party under this Section 11.14 for any Indemnified Liabilities

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caused by the gross negligence or willful misconduct of such indemnified Party, as determined
by final judgment of a court of competent jurisdiction.

11.15 Assignments: Participations.

(a) This Loan Agreement and the Notes shall be binding upon and inure to
the benefit of the Borrowers and the Administrative Agent and each Lender and their respective
successors and assigns (including, except for the right to request Loans, any trustee succeeding to
the rights of the Borrowers pursuant to Chapter 11 of the Bankruptcy Code or pursuant to any
conversion to a case under Chapter 7 of the Bankruptcy Code); provided, however, that each of
the Borrowers may not assign or transfer any of their rights hereunder, or under the Notes,
without the prior written consent of each Lender and any such assignment without the Lenders’
prior written consent shall be null and void.

(b) Each Lender may, with the written consent of (x) the Administrative
Agent and (y) the Administrative Borrower; (which consent, in the case of either clauses (x) or
(y), is not to be unreasonably withheld) assign to one or more other lenders or other entities all or
a portion or its rights and obligations under this Agreement (including, without limitation, all or
a portion of its Commitment, the Loans made by it and the Notes held by it); provided, however,
that no consent of the Administrative Borrower shall be required for an assignment to a Lender,
an Affiliate of a Lender or an Approved Fund, or if a Event of Default has occurred and is
continuing; and provided, further, however, that (i) such assignment is in an amount which is at
least $1,000,000 or a multiple of $100,000 in excess thereof (or the remainder of such Lender’s
Commitment) and (ii) the parties to each such assignment shall execute and deliver to the
Administrative Agent, for its acceptance, an Assignment and Acceptance, together with any Note
subject to such assignment. Upon such execution, delivery and acceptance, from and after the
effective date specified in each Assignment and Acceptance, which effective date shall be al
least three (3) Business Days after the delivery thereof to the Administrative Agent (or such
shorter period as shall be agreed to by the Administrative Agent and the parties to such
assignment), (A) the assignee thereunder shall become a “Lender” hereunder and, in addition to
the rights and obligations hereunder held by it immediately prior to such effective date, have the
rights and obligations hereunder that have been assigned to it pursuant to such Assignment and
Acceptance and (B) the assigning Lender thereunder shall, to the extent that rights and
obligations hereunder have been assigned by it pursuant to such Assignment and Acceptance,
relinquish its rights and be released from its obligations under this Agreement (and, in the case of
an Assignment and Acceptance covering all or the remaining portion of an assigning Lender’s
rights and obligations under this Agreement, such Lender shall cease to be a party hereto).

(i) By executing and delivering an Assignment and Acceptance, the
assigning Lender and the assignee thereunder confirm to and agree with each other and
the other parties hereto as follows: (A) other than as provided in such Assignment and
Acceptance, the assigning Lender makes no representation or warranty and assumes no
responsibility with respect to any statements, warranties or representations made in or in
connection with this Loan Agreement or any other Loan Document or the execution,
legality, validity, enforceability, genuineness, sufficiency or value of this Agreement or
any other Loan Document furnished pursuant hereto; (B) the assigning Lender makes no
representation or warranty and assumes no responsibility with respect to the financial

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condition of the Borrowers or any of their Subsidiaries or the performance or observance
by the Borrowers of any of their obligations under this Loan Agreement or any other
Loan Document furnished pursuant hereto; (C) such assignee confirms that it has
received a copy of this Loan Agreement and the other Loan Documents, together with
such other documents and information it has deemed appropriate to make its own credit
analysis and decision to enter into such Assignment and Acceptance; (D) such assignee
will, independently and without reliance upon the Assigning Lender, the Administrative
Agent or any Lender and based on such documents and information as it shal] deem
appropriate at the time, continue to make its own credit decisions in taking or not taking
action under this Loan Agreement and the other Loan Documents; (E) such assignee
appoints and authorizes the Administrative Agent to take such action as the
Administrative Agent on its behalf and to exercise such powers under this Loan
Agreement and the other Loan Documents as are delegated to the Administrative Agent
by the terms thereof, together with such powers as are reasonably incidental thereto; and
(F) such assignee agrees that it will perform in accordance with their terms all of the
obligations which by the terms of this Agreement and the other Loan Documents are
required to be performed by it as a Lender.

(11) The Administrative Agent shall maintain, or cause to be maintained at
the Payment Office, a copy of each Assignment and Acceptance delivered to and
accepted by it and a register for the recordation of the names and addresses of the
Lenders and the Commitments of, and principal amount of the Loans owing to each
Lender from time to time (the “Register”). The entries in the Register shall be conclusive
and binding for all purposes, absent manifest error, and the Borrowers, the
Administrative Agent and the Lenders may treat each Person whose name is recorded in
the Register as a Lender hereunder for all purposes of this Agreement. The Register shall
be available for inspection by the Administrative Borrower and any Lender at any
reasonable time and from time to time upon reasonable prior notice.

(iii) Upon its receipt of an Assignment and Acceptance executed by an
assigning Lender and an assignee, together with the Notes subject to such assignment, the
Administrative Agent shall, if the Administrative Agent consents to such assignment and
if such Assignment and Acceptance has been completed (i) accept such Assignment and
Acceptance, (ii) give prompt notice thereof to the Administrative Borrower, (ili) record
the information contained therein in the Register, and (iv) prepare and distribute to each
Lender and the Administrative Borrower a revised Schedule B hereto after giving effect
to such assignment, which revised Schedule B shall replace the prior Schedule B and
become part of this Agreement.

(iv) A Registered Loan (and the Note, if any, evidencing the same) may be
assigned or sold in whole or in part only by registration of such assignment or sale on the
Register (and each Note shall expressly so provide), together with the surrender of the
Note, if any, evidencing the same duly endorsed by (or accompanied by a written
instrument of assignment or sale duly executed by) the holder of such Note, whereupon,
at the request of the designated assignee) or transferee(s), one or more new Notes in the
same aggregate principal amount shall be issued to the designated assignee(s) or
transferee(s). Prior to the registration of assignment or sale of any Registered Loan (and

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the Note, if any evidencing the same), the Administrative Agent shall treat the Person in
whose name such Registered Loan (and the Note, if any, evidencing the same) is
registered as the owner thereof for the purpose of receiving all payments thereon and for
all other purposes, notwithstanding notice to the contrary.

(v) In the event that any Lender sells participations in a Registered Loan,
such Lender shall maintain a register on which it enters the name of all participants in the
Loans held by it (the “Participant Register”). A Registered Loan (and the Note, if any,
evidencing the same) may be participated in whole or in part only by registration of such
participation on the Participant Register (and each Note shall expressly so provide). Any
participation of such Registered Loan (and the Note, if any, evidencing the same) may be
effected only by the registration of such participation on the Participant Register.

(vi) Any foreign Person who purchases or is assigned or participates in any
portion of such Registered Loan shall provide the Administrative Agent (in the case of a
purchase or assignment) of the Lender (in the case of a participation) with a completed
Internal Revenue Service Form W-8 (Certificate of Foreign Status) or a substantially
similar form for such purchaser, participant or any other affiliate who is a holder of
beneficial interests in the Registered Loan.

(c) Each Lender may sell participations to one or more banks or other
entries (“Participants”) in or to all or a portion of its rights and obligations under this Loan
Agreement and the other Loan Documents (including, without limitation, all or a portion of any
of its Commitments and any Loans made by it); provided, that (i) such Lender’s obligations
under this Loan Agreement (including without limitation, its Commitment hereunder) and the
other Loan Documents shall remain unchanged; (ii) such lender shall remain solely responsible
to the other parties hereto for the performance of such obligations, and the Borrowers, the
Administrative Agent and the other Lenders shall continue to deal solely and directly with such
Lender in connection with such Lender’s rights and obligations under this Loan Agreement and
the other Loan Documents, and (iii) a participant shall not be entitled to require such Lender to
take or omit to take any action hereunder except (A) action directly effecting an extension of the
maturity dates or decrease in the principal amount of the Loans, or (B) action directly effecting
an extension of the due dates or a decrease in the rate of interest payable on the Loans or the fees
payable under this Agreement, or (C) except for Permitted Dispositions, actions directly
effecting a release of all or substantially all of the Collateral or any Borrower.

(d) Each Lender may furnish any information concerning the Borrowers in
the possession of such Lender from time to time to assignees and Participants (including
prospective assignees and Participants) who agree to be bound by the provisions of Section 11.21
and this Section 11.16(d) only after notifying the Administrative Borrower in writing and only
for the sole purpose of evaluating participations or assignments, as the case may be, and for no
other purpose.

(e) The Borrowers, at no material costs or expenses to the Borrower, agree
to cooperate with the Lenders in connection with any such assignment or participation, to
execute and deliver such replacement Notes and other documents in order to give effect to such
assignment or participation.

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11.16 Set-Off. In addition to any rights and remedies of each Lender
provided by this Loan Agreement and by law, each Lender shall have the right during the
continuance of an Event of Default, without prior notice to the Borrowers, any such notice being
expressly waived by the Borrowers to the extent permitted by applicable law, upon any amount
becoming due and payable by the Borrowers hereunder (whether at the stated maturity, by
acceleration or otherwise) to set-off and appropriate and apply against such amount any and all
Property and deposits (general or special, time or demand, provisional or final), in any currency,
and any other credits, indebtedness or claims, in any currency, in each case whether direct or
indirect, absolute or contingent, matured or unmatured, at any time held or owing by such Lender
or any Affiliate thereof to or for the credit or the account of any Borrower. Each Lender may
set-off cash, the proceeds of the liquidation of any Collateral and all other sums or obligations
owed by such Lender or its Affiliates to any Borrower against all of the Borrowers’ obligations
to such Lender or its Affiliates, whether under this Loan Agreement or under any other
agreement between the parties or between any Borrower and any affiliate of such Lender, or
otherwise, whether or not such obligations are then due, without prejudice to such Lender’s or its
Affiliate’s right to recover any deficiency. Each Lender agrees promptly to notify the Borrower
after any such set-off and application made by such Lender, provided that the failure to give such
notice shall not affect the validity of such set-off and application.

11.17 Entire Agreement. This Loan Agreement and the other Loan
Documents embody the entire agreement and understanding of the parties hereto and supersedes
any and all prior agreements, arrangements and understandings relating to the matters provided
for herein or therein. No alteration, waiver, amendments, or change or supplement hereto or
thereto shall be binding or effective unless the same is set forth in writing by a duly authorized
representative of each party hereto. Notwithstanding the foregoing or anything else in any Loan
Document to the contrary, in the event of any conflict between terms and provisions of this Loan
Agreement or any other Loan Document and the Orders, the terms and provisions of the Orders
shall prevail.

11.18 Records. The unpaid principal of and interest on the Notes, the
interest rate or rates applicable to such unpaid principal and interest, the duration of such
applicability, the Commitments, and the accrued and unpaid fees payable pursuant to
Section 3.07 hereof, shall at all times be ascertained from the records of the Administrative
Agent, which shall be conclusive and binding absent manifest error.

11.19 Confidentiality. The Administrative Agent, each Lender, each
Borrower and their Affiliates shall take normal and reasonable precautions to maintain the
confidentiality of all non-public information obtained pursuant to the requirements of this Loan
Agreement and the other Loan Documents which has been identified as such by the Borrowers,
but may, in any event, make disclosures (i) in the case of the Administrative Agent or any
Lender, as reasonably required by any participant or assignee in connection with the
contemplated assignment of any interest under this Loan Agreement or participations therein and
in accordance with Section 11.15(d), or (ii) as required or requested by any governmental agency
or representative thereof or as required pursuant to legal process, or (iii) to its officers, attorneys,
accountants, agents, and advisors who are directly involved in the transactions described in this
Loan Agreement, or (iv) as required by law, or (v) in connection with litigation involving the
Administrative Agent or any Lender.

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11.20 Public Announc ements. The Administrative Agent may issue and
disseminate to the public general information describing this credit facility, including a general
description of the Borrowers’ businesses, and may use Borrowers’ names in published
advertising and other promotional materials.

11.21 USA Patriot Act. Each Lender subject to the USA Patriot Act hereby
notifies the Borrowers that pursuant to the requirements of the USA Patriot Act, it is required to
obtain, verify and record information that identifies each Borrower, which information includes
the name and address of each Borrower and other information that will allow such Lender to
identify such Borrower in accordance with the USA Patriot Act.

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IN WITNESS WHEREOPF, the parties hereto have caused this Loan Agreement to

be duly executed and delivered as of the day and year first above written.

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LENDERS:

WLR RECOVERY FUND III, L.P.,
as a Lender and as the Administrative Agent

By: WLR Recovery Associates ITI LLC,
its General Partner

Address for Notices:

WLR Recovery Fund III, L.P.

1166 Avenue of the Americas, 27" Floor
New York, New York, 10036

Attention:

Telecopier No.: 212-317-4891
Telephone No.: 212-826-1100

BORROWERS:

AMERICAN HOME MORTGAGE INVESTMENT
CORP

INC,

AMERICAN HOME MORTGAGE CORP.

By:
Name:
Title:

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AMERICAN HOME MORTGAGE
ACCEPTANCE, INC.

LLC

Address for Notices:

c/o American Home Mortgage Investment Corp
538 Broadhollow Road

Melville, New York

Attention:

Telecopier No.:

Telephone No.:

With a copy to:

[ ]
And to:

[ ]

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Schedule A
Borrowers

American Home Mortgage Investment Corp., a Maryland corporation

American Home Mortgage Holdings, Inc., a Delaware corporation

American Home Mortgage Corp., a New York corporation

American Home Mortgage Acceptance, Inc., a Maryland corporation

American Home Mortgage Ventures LLC, a Delaware limited liability company
Homegate Settlement Services, Inc., a New York corporation

Great Oak Abstract Corp., a New York corporation

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Schedule B

Initial Lenders

Lender Commitment

WLR Recovery Fund II, L.P. $50,000,000.00

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Schedule C
Budget

See attached

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9.

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Schedule D

First Lien Collateral

. Residual interest in the Illinois Property

Not less than $[ ] of cash held by the Borrowers as of the Filing Date

The equity interests of AHM SPV II LLC (owner of real property located in Melville, New

York)

The equity interests of American Home Bank
Tax Refunds

Cash held in deferred compensation plan

Unencumbered Whole Loans

The equity interests of the captive reinsurance subsidiary [Specified Captive Insurance

Subsidiary]

The real property located at the Illinois Property

10. [Others to be determined]

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Schedule E

Unencumbered Whole Loans

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Schedule F

Residuals

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Michael Strauss
Steven Cooper
Steve Hozie

Craig Pino

Robert Bernstein

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Schedule G

Authorized Officer

CEO, Chairman & President
Chief Restructuring Officer
Chief Financial Officer

Executive Vice President
& Treasurer

Executive Vice President
& Controller

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Schedule 6.01(a)

Jurisdiction of Organization

Entity

American Home Mortgage Investment Corp.
American Home Mortgage Acceptance, Inc.
American Home Mortgage Corp.

American Home Mortgage Holdings, Inc.
American Home Mortgage Ventures LLC
Great Oak Abstract Corp.

Homegate Settlement Services, Inc.

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Jurisdiction of Organization

Maryland
Maryland
New York
Delaware
Delaware
New York

New York

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Schedule 6.01(b)

Consents

NONE

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Schedule 6.03

Litigation

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Schedule 6,21

Subsidiaries of the Borrowers!

Borrower Direct Subsidiaries
American Home Mortgage Investment Corp. Baylis Trust I
AHM Capital Trust I
American Home Mortgage
Securities LLC

AHM SPV III, LLC

American Home Mortgage
Acceptance, Inc.”

American Home Mortgage
Holdings, Inc.

American Home Mortgage Holdings, Inc. American Home Mortgage
Servicing, Inc.?

American Home Securities, LLC
(inactive)

American Home Mortgage Corp.
Baylis Trust II

Baylis Trust II

Baylis Trust IV

Baylis Trust V

Baylis Trust VI

Baylis Trust VII

| See attached Organizational Chart

? American Home Mortgage Acceptance, Inc. has two direct subsidiaries: (i) Melville Funding, LLC; and
(ii) AHM LF, LLC (an inactive entity)

3 American Home Mortgage Servicing, Inc. has three direct subsidiaries: (i) CNI Reinsurance, Ltd.; (ii)
Nap Financial Services, LLC (Inactive); and (iii) CNI Title Services, LLC (Inactive)

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American Home Mortgage Ventures LLC

American Home Mortgage Corp.”

Baylis Trust VII
American Home Bank*

American Home Mortgage
Ventures LLC

The following series joint ventures:

HSS Mortgage, LLC

All Pro Mortgage, LLC

Silicon Mortgage, LLC

TDG Equities, LLC

Elite Lending Partners, LLC

Peak Experience Mortgage, LLC

U.S. Lending Company, LLC

American Home Mortgage V, LLC

Private Mortgage Group, LLC
Broadhollow Funding, LLC

AHM SPV I, LLC

AHM SPV II, LLC

Homegate Settlement Services, Inc.

American Home Mortgage
Assets LLC

Melville Reinsurance Corp.

Great Oak Abstract Corp.

4 American Home Bank has one subsidiary: Umbrella Service Corporation

> American Home Mortgage Corp. is also a participant in the following joint ventures: (i) Mortgage First
Limited, LLC; (ii) Array Mortgage, LLC; and (iii) American Midwest Title Agency, LLC

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American Home Escrow, LLC

(Inactive)
Homegate Settlement Services, Inc. NONE
Great Oak Abstract Corp. NONE

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Schedule 7.16

Permitted Investments

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Exhibit A

Interim Order

See attached.

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Exhibit B
BORROWING NOTICE

Dated: , 200_

WRL Recovery Fund II, L.P.
as Administrative Agent
1166 Avenue of the Americas, 27" Floor
New York, New York 10036
Attention:
Telecopier No.: 212-317-4891

Ladies and Gentlemen:

This Borrowing Notice is delivered to you pursuant to Section 2.03(a) of the Loan
Agreement, dated as of August 6, 2007 (as the same may be amended, amended and restated,
supplemented or otherwise modified from time to time, the “Loan Agreement”), among
American Home Mortgage Investment Corp.(“AHMIC”) and certain of AHMIC’s subsidiaries,
each as a debtor and a debtor-in-possession, as borrower (collectively, the “Borrowers” and
individually each a “Borrower”), the Lenders from time to time party to the Loan Agreement,
including the initial lenders as set forth on Schedule B of the Loan Agreement, and WLR
Recovery Fund II, L.P., as administrative agent for Lenders (in such capacity, the
“Administrative Agent”). Unless otherwise defined, terms used herein have the meanings
provided in the Loan Agreement.

The Administrative Borrower hereby gives you notice of and requests a Loan under the
Loan Agreement (the “Proposed Borrowing”) for the account of the Borrowers, and in
connection therewith sets forth below the information relating to such Proposed Borrowing:

1. The Funding Date of the Proposed Borrowing is , 200...

2. The aggregate amount of the Proposed Borrowing is $| |.

The Administrative Borrower, on behalf of itself and the other Borrowers, hereby
certifies that the following statements are true on the date hereof, and will be true on the date of
the Proposed Borrowing requested hereby, before and immediately after giving effect thereto and
to the application of the proceeds therefrom:

(a) no Default or Event of Default shall have occurred and be continuing or
would result from the making of such Proposed Borrowing;

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(b) the amount and intended use of proceeds of such Loan are in compliance
with the Budget;

(c) the representations and warranties made by each Borrower in Section 6 of
the Loan Agreement, and in each of the other Loan Documents, are true and complete on
and as of the date of the making of such Proposed Borrower in all material respects with
the same force and effect as if made on and as of such date (or, if any such representation
or warranty is expressly stated to have been made as of a specific date, as of such specific
date); and

(d) each of the other conditions precedent set forth in Section 5.02 of the Loan
Agreement have been satisfied.

Please wire transfer the proceeds of the Proposed Borrowing to the account set forth on
Schedule I attached hereto.

[Signature page follows]

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IN WITNESS WHEREOF, the Administrative Borrower has caused this Borrowing
Notice to be executed and delivered, and the certification and representations and warranties
contained herein to be made, by its duly Authorized Officer this __ day of , 200_.

AMERICAN HOME MORTGAGE
INVESTMENT CORP., as Administrative
Borrower on behalf of each of the Borrowers

By:

Name:
Title:

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SCHEDULE I TO BORROWING NOTICE

[Wire Transfer instructions to be provided by the Borrowers. ]

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